
PER CURIAM.
We have for review Jervis v. State, 727 So.2d 981 (Fla. 5th DCA 1999), a decision of the Fifth District Court of Appeal citing as controlling authority its opinion in Maddox v. State, 708 So.2d 617 (Fla. 5th DCA 1998), approved in part, disapproved in part, 760 So.2d 89 (Fla.2000). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418, 420 (Fla.1981). Because the parties have not adequately briefed the merits of the alleged scoresheet error in this case, we quash the decision below and remand for the district court’s consideration in light of our opinion in Maddox.1
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.

. We decline to address the other issues raised by Jervis that are not the basis of our jurisdiction. See, e.g., Wood v. State, 750 So.2d 592, 595 n. 3 (Fla.1999); McMullen v. State, 714 So.2d 368, 373 (Fla.1998).

